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 6                         IN THE UNITED STATES DISTRICT COURT
 7                               FOR THE DISTRICT OF ARIZONA
 8    Justin Downing,                           )    No. CV-22-08159-PCT-SPL
                                                )
 9                                              )
                         Plaintiff,             )    RULE 16
10    vs.                                       )    CASE MANAGEMENT ORDER
                                                )
11                                              )
      Lowe’s Companies Incorporated,            )
12                                              )
                         Defendants.            )
13                                              )
                                                )
14
15            The parties have met and prepared a Joint Rule 26(f) Case Management Report and
16   a Joint Proposed Rule 16 Case Management Order. On the basis of the parties’
17   submissions, and the Court’s considered assessment of the time necessary to complete
18   discovery and the necessary submissions,
19            IT IS ORDERED:
20   I.       RULES
21            Both counsel and pro se litigants must abide by the Local Rules of Civil Procedure
22   (“LRCiv” or “Local Rules”), Rules of Practice of the U.S. District Court for the District of
23   Arizona, and the Federal Rules of Civil Procedure.
24            The Preliminary Order and its Attachments issued in this case are incorporated by
25   reference and remain in effect. To any extent the Preliminary Order differs from this Order,
26   this Order shall govern.
27   II.      JOINING PARTIES AND AMENDING PLEADINGS
28            The deadline for joining parties, amending pleadings, and filing supplemental
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 1   pleadings is November 24, 2023.
 2           Any motion for leave to amend or notice of amendment must be filed in accordance
 3   with Rule 15.1 of the Local Rules of Civil Procedure. Any motion or notice that does not
 4   comply with the local and federal rules may be stricken by the Court.
 5   III.    DISCOVERY
 6           Discovery Deadline: All discovery, including discovery by subpoena, shall be
 7   completed on or before May 24, 2024.1 Discovery at this stage shall be narrowly focused
 8   on issues related to the named plaintiff and collective certification.
 9           Written Discovery Limitations: Each side may propound up to 25 interrogatories,
10   including subparts. The parties are also limited to 25 requests for production of documents,
11   including subparts, and 25 requests for admissions, including subparts. All interrogatories,
12   requests for production of documents, and requests for admissions shall be served at least
13   forty-five (45) days before the discovery deadline.2
14           Responses to discovery requests must be stated with specificity; general or
15   boilerplate objections are not permitted. If a party objects to providing relevant
16   information, including an objection that providing the required information would involve
17   disproportionate expense or burden, it must provide particularized information regarding
18   the nature of the objection and its basis, and fairly describe the information being withheld.
19   Where a party limits its response on the basis of privilege or work product, a privilege log
20   is required unless the Court orders otherwise.
21           Fact Depositions: All depositions shall be scheduled to commence at least five (5)
22   working days prior to the discovery deadline. A deposition commenced five (5) days prior
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            The discovery deadline concludes the time to propound discovery, the time to
24   answer all propounded discovery, the time to supplement disclosures and discovery, the
     time for discovery by subpoena, the time for the Court to resolve all discovery disputes,
25   and the time to complete any final discovery necessitated by the Court’s ruling on any
     discovery disputes.
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           The parties may mutually agree in writing, without Court approval, to increase the
27   discovery limitations or extend the time provided for discovery responses in Rules 33, 34,
     and 36 of the Federal Rules of Civil Procedure. Such agreed-upon increases or extensions,
28   however, shall not alter or extend the discovery deadlines set forth in this Order.

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 1   to the deadline may continue up until the deadline, as necessary. Depositions shall be
 2   limited to seven hours each as provided in Rule 30(d)(1) of the Federal Rules of Civil
 3   Procedure.
 4          Expert Disclosures: Plaintiff shall provide full and complete expert disclosures as
 5   required by Rule 26(a)(2)(A)-(C) of the Federal Rules of Civil Procedure no later than
 6   June 7, 2024. Defendants shall provide full and complete expert disclosures as required by
 7   Rule 26(a)(2)(A)-(C) of the Federal Rules of Civil Procedure no later than June 28, 2024.
 8   Rebuttal expert disclosures, if any, shall be made no later than July 12, 2024. Rebuttal
 9   experts shall be limited to responding to opinions stated by initial experts. Absent truly
10   extraordinary circumstances, parties will not be permitted to supplement their expert
11   reports after these dates.
12          Expert Depositions: Expert depositions shall be completed no later than July 26,
13   2024. Expert depositions shall be scheduled to commence at least five (5) working days
14   before the deadline.
15          Discovery Disputes: Discovery disputes are strongly discouraged. Parties shall not
16   present any discovery dispute without first seeking to resolve the matter through personal
17   consultation and sincere effort as required by LRCiv 7.2(j). In the event the parties cannot
18   reach a resolution, they may jointly request assistance by contacting the Court to request a
19   hearing on the dispute; the parties shall not file written discovery motions without leave of
20   Court. The Court will seek to resolve the dispute during the hearing, and may enter
21   appropriate orders on the basis of the hearing or may order written briefing. If the Court
22   orders written submissions, the parties shall include a statement certifying that counsel
23   could not satisfactorily resolve the matter after personal consultation and sincere efforts to
24   do so in accordance with Local Rule 7.2(j).
25          Absent extraordinary circumstances, the Court will not entertain fact discovery
26   disputes after the deadline for completion of fact discovery, and will not entertain expert
27   discovery disputes after the deadline for completion of expert discovery.
28          Protective Orders: As a general practice, this Court does not approve or adopt


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 1   blanket, umbrella protective orders or confidentiality agreements, even when stipulated to
 2   by the parties. Further, the fact that the parties have designated materials or information as
 3   confidential pursuant to an agreement or stipulation does not mean that the Court will order
 4   that the filings containing such information be placed under seal. In the event discovery
 5   mandates disclosure of specific, harmful, confidential material, the Court will entertain a
 6   request for a protective order at that time if it is tailored to protect the particular interests
 7   at hand in accordance with Rule 26(c) of the Federal Rules of Civil Procedure. Any party
 8   wishing to seal a record or document and shield it from public view must prove why the
 9   interest in secrecy outweighs the presumption of public access to judicial records and
10   documents.
11   IV.    MOTIONS
12          Conditional Certification: Any motion for conditional collective certification
13   under Section 216(b) of the Fair Labor Standards Act shall be filed no later than August
14   2, 2024. Any response shall be filed within 14 days of service of the motion. Any reply
15   shall be filed within 7 days of service of the response.
16          Decertification: If conditional collective certification is granted, Defendant shall
17   have ninety (90) days to move to decertify the proceedings as a collective action following
18   the mailing of the opt-in notice to Defendant’s employees.
19          Dispositive Motion Deadline: Dispositive motions shall be filed no later than
20   September 20, 2024.
21          Pre-Motion Conferral: Any motion made pursuant to Federal Rule of Civil
22   Procedure 12 is discouraged if the challenged defect in the pleading can be cured by filing
23   an amended pleading. In accordance with LRCiv 12.1(c), the Court therefore requires: (1)
24   conferral – the movant must confer with the opposing party prior to filing a motion to
25   dismiss for failure to state a claim or counterclaim pursuant to Rule 12(b)(6), or a motion
26   for judgment on the pleadings on a claim or counterclaim pursuant to Rule 12(c), to
27   determine whether such motion can be avoided; and (2) certification – the movant must
28   attach a certificate of conferral, certifying that it notified the opposing party of the issues


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 1   asserted in its motion (in person, by telephone, or in writing), and that the parties conferred
 2   but were unable to agree that the pleading was curable in any part by a permissible
 3   amendment offered by the pleading party. Any motion lacking an attached compliant
 4   certificate may be summarily stricken by the Court.
 5          The parties must also confer prior to filing any motion pursuant to Federal Rule of
 6   Civil Procedure 56. In doing so, the parties shall exchange a two-page statement describing
 7   any anticipated motion for summary judgment and response, identifying the issues and
 8   claims on which summary judgment will be sought and the basis for the motions and
 9   response. The purpose of conferral should be aimed at streamlining the issues in dispute,
10   and dispensing of statements of fact. A certificate of conferral must be attached to any
11   motion for summary judgment. Any motion lacking an attached compliant certificate may
12   be summarily stricken by the Court.
13          Dispositive Motion Limitations: Absent leave of Court, no party shall file more
14   than one motion for summary judgment. To obtain leave of Court, a party shall file a motion
15   setting forth the reasons justifying the filing of more than one summary judgment motion.
16          Statements of Fact: Statements of Fact (“SOF”) required by Local Rule 56.1 shall
17   not exceed ten (10) pages in length, exclusive of exhibits. Electronic copies of SOF shall
18   be emailed to the opposing party and to chambers in Microsoft Word® format at
19   Logan_Chambers@azd.uscourts.gov. Any Controverting SOF, as set forth in Local Rule
20   56.1(b), shall include the entirety of the SOF in each responsive paragraph. Additional SOF
21   shall continue in numerical sequence.
22          Oral Argument: The parties shall not notice oral argument on any motion. Instead,
23   a party seeking oral argument shall place the words “Oral Argument Requested”
24   immediately below the title of the motion. See LRCiv 7.2(f). The Court will issue an order
25   scheduling oral argument as it deems appropriate.
26          Copies: A paper copy of any document exceeding ten (10) pages in length shall be
27   submitted to chambers promptly following its electronic filing. Paper copies of documents
28   which are too large for stapling must be submitted in a three-ring binder. Electronic copies


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 1   of proposed orders or findings shall be emailed to chambers in Microsoft Word® format at
 2   Logan_Chambers@azd.uscourts.gov.
 3          Noncompliance: All parties are specifically admonished that “[i]f a motion does
 4   not conform in all substantial respects with the requirements of [the Local Rules], or if the
 5   opposing party does not serve and file the required answering memoranda… such
 6   noncompliance may be deemed a consent to the denial or granting of the motion and the
 7   Court may dispose of the motion summarily.” LRCiv 7.2 (emphasis added).
 8   V.     SETTLEMENT DISCUSSIONS
 9          All parties and their counsel shall meet in person and engage in good faith settlement
10   talks no later than May 24, 2024. Upon completion of such settlement talks, and in no
11   event later than five (5) working days after the deadline for settlement talks, the parties
12   shall file with the Court a joint report on settlement talks executed by or on behalf of all
13   counsel. The report shall inform the Court that good faith settlement talks have been held
14   and shall report on the outcome of such talks. The parties shall indicate whether assistance
15   from the Court is needed in seeking settlement of the case. The parties shall promptly notify
16   the Court at any time when settlement is reached during the course of this litigation.
17          The parties are reminded that they may request to refer this action to a magistrate
18   judge pursuant to LRCiv 83.10 for the purpose of holding a settlement conference
19   (mediation), minitrial, summary jury trial, early neutral evaluation, or other form of dispute
20   resolution. Alternative dispute resolution, however, shall not be used as a reason to delay
21   the processing of this case.
22   VI.    ADDITIONAL DEADLINES
23          Following resolution of the issue of conditional certification, the Court will direct
24   the parties to submit a second joint report and proposed case management order addressing
25   the remaining case deadlines.
26   VII.   FINAL ADVISALS
27          The parties are advised that the Court intends to enforce the deadlines and
28   guidelines set forth in this Order, and they should plan their litigation activities


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 1   accordingly. Even if all parties stipulate to an extension, the Court will not extend the
 2   deadlines absent good cause to do so. As a general matter, the pendency of settlement
 3   discussions or the desire to schedule mediation does not constitute good cause.
 4         Dated this 4th day of August, 2023.
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 6                                                   Honorable Steven P. Logan
                                                     United States District Judge
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